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                              UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA

                                   CIVIL ACTION NO.: 1:19-cv-20544


   LARRY KLAYMAN,

           Plaintiff,

   v.

   THOMAS FITTON,

           Defendant.


                         DEFENDANT THOMAS FITTON’S MOTION FOR
                        SANCTIONS PURSUANT TO FED. RULE. CIV. P. 11

          Defendant Thomas Fitton (“Fitton”), by counsel and pursuant to Fed. R. Civ. P. 11, hereby
  moves this Court to impose an appropriate sanction against Plaintiff Larry Klayman (“Klayman”) for
  filing frivolous pleadings for a bad faith purpose and states:
          I.      INTRODUCTION AND BACKGROUND

          In this action, Klayman makes his fourth attempt to procure personal jurisdiction over Fitton
  in U.S. District Courts located in Florida. Two prior attempts occurred in this Court and one in the
  Middle District of Florida. The factual basis for jurisdiction has not changed. Moreover, Klayman
  attempts to secure personal jurisdiction over Fitton without providing those facts necessary to establish
  jurisdiction. Because this is the fourth instance where Klayman uses the federal court system in Florida
  to harass and inconvenience Fitton by filing frivolous pleadings, this Court should impose harsh
  sanctions against Klayman to preclude him from filing any future frivolous actions. While the
  undersigned recognizes the significance of the relief requested, same is necessary to prevent Klayman
  from continuing his campaign of harassment against the Defendant.
          II.     Klayman has a long history of employing vexatious litigation tactics against his
                  adversaries, both real and imagined. This includes, but is certainly not limited to,
                  intentionally filing claims in locations where personal jurisdiction does not attach. In
                  fact, the Southern District of Florida has previously sanctioned Klayman due to his
                  vexatious conduct. See, Larry Klayman v. Stephanie A. Deluca, et. al, No. 15-CV-
                  80310-KAM (S.D. Fla. May 18, 2016). The sanction included an injunction preventing
                  Klayman from filing future claims against a defendant without the assistance of
                  counsel. Id. In so holding, the Southern District Court of Florida concluded that
                  “Klayman has a history of vexatious conduct in this District and in other courts” and
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                 that an injunction was necessary to deter Klayman “from abusing the judicial process”
                 Id at 4 and n2. The trial court’s decision was upheld by the Eleventh Circuit, which
                 concluded that that Klayman’s history of vexatious litigation is “sufficient for the court
                 to enjoin future vexatious litigation.” Klayman v. Deluca, 712 F. App'x 930, 933 (11th
                 Cir. 2017). As such, without this Honorable Court’s intervention, Klayman will
                 continue to engage in bad faith litigation designed solely to harass the Defendant.
                 BACKGROUND FACTS

          On January 18, 2019, Klayman filed suit against Fitton in a three-count Complaint for
  defamation, defamation per se and defamation by implication based on an alleged defamatory
  statement published by a third-party, Roger Stone (“Stone”), on the internet. [ECF Document No. 1]
  The Complaint alleges that Florida has personal jurisdiction over Fitton and contains the following
  allegations:
                        Klayman is an individual and citizen of Florida. Compl. ¶ 3.

                        “Fitton is now conveniently and incredibly working with Roger Stone to
                         defame Klayman.” Compl. ¶ 8.

                        “Defendant Fitton and Stone are working in concert as joint tortfeasors hoping
                         to not only intimidate Dr. Corsi and his counsel to severely harm and damage
                         their reputations, but also to coerce and threaten Dr. Corsi to testify falsely if
                         subpoenaed to be called as a material witness in Defendant Stone's ensuing
                         criminal trial, as well as to impede and harm Dr. Corsi's criminal defense.”
                         Compl. ¶ 14.

                        “They [Stone and Fitton] are also acting in concert to divert funds away from
                         Dr. Corsi's legal defense fund, while boosting Stone's legal defense fund.”
                         Compl. ¶ 14.

                        “Stone made this false, defamatory statement at the direction of Defendant
                         Fitton, whom he attributes this false and defamatory statement to.” Compl. ¶
                         17.

                        “Defendant Fitton with malice and/or a reckless disregard for the truth knew
                         that Plaintiff Klayman did not leave Judicial Watch as a result of a sexual
                         harassment complaint.” Compl. ¶ 19.

                        “Defendant Fitton knowingly published this false and defamatory statement to
                         Stone, who in turn republished it during interviews which were broadcast by
                         him and his surrogates in this district, nationally and internationally for the
                         entire world to hear and see.” Compl. ¶ 20.

                        “Defendant Fitton, in concert with Stone, have therefore also engaged in illegal
                         witness tampering of Dr. Corsi and his lawyer Plaintiff Klayman in violation
                         of 18 U.S.C. § 1512 by virtue of the defamatory acts and practices as alleged
                         herein.” Compl. ¶ 21.

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         On March 1, 2019, Fitton moved to dismiss the Complaint for lack of personal jurisdiction.
  [ECF Document No. 6] The Motion to Dismiss demonstrates that Klayman alleged no facts in support
  of personal jurisdiction in Florida. Fitton also provides a Declaration in which he denies any relevant
  contact with Florida or uttering any alleged defamatory statement to Stone.
         On March 18, 2019, Klayman filed an Opposition to Defendant’s Motion to Dismiss (the
  “Opposition”) and restates the allegations of personal jurisdiction from the Complaint without
  including any supporting facts. In the Opposition, Klayman states that Fitton: “is clearly subject to
  Florida’s long-arm statute by virtue of his tortious conduct aimed at a Florida resident and haling him
  into this Court comports with due process and traditional notions of fair play and justice.” Opposition
  at p. 1. In the Opposition that Klayman signed pursuant to Rule 11, he refers to a statement uttered by
  Stone that is alleged be defamatory and makes the following related assertions:
                        “Plaintiff is a citizen of Florida.” Opposition at pp. 11 and 14.

                        “Plaintiff, a Florida resident. . . .” Opposition at pp. 6 and 13.

                        “Stone made this false, defamatory statement at the direction of Defendant
                         Fitton, whom he attributes the false and defamatory statement to.” Opposition
                         at p. 3.

                        “Defendant Fitton knowingly published this false and defamatory statement to
                         Stone in Florida, in this district, who in turn republished it during interviews
                         which were broadcast by him and his surrogates in this district, nationally and
                         internationally for the entire world to hear and see.” Id.

                        “The Court here should exercise specific jurisdiction over Defendant Fitton
                         because his tortious conduct was intentional, aimed at Plaintiff, a Florida
                         resident, felt in Florida’s forum and he should expect to be haled into Court
                         where his defamatory misconduct took place.” Opposition at p. 6.

                        “Defendant Fitton and Stone are working together as co-conspirators to try to
                         harm me in this district, in Florida and the United States.” Exhibit 1 at ¶ 13.

                        “Defendant Fitton and Stone communicated and published the false and
                         defamatory statements by phone, email, text or in person in Florida and in this
                         district. Discovery will reveal which vehicle(s) Defendant Fitton and Stone
                         used to conspire together to hurt me in Florida.” Id. at ¶ 15.

                        “Defendant Fitton published this false statement to Stone, located in Florida at
                         the time, and the false statement was aimed at me, a Florida citizen.” Id. at ¶
                         17.




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                        “Defendant Fitton communicated to and with Roger Stone, who at all material
                         times was situated in Florida, either in person or over the phone.” Opposition
                         at p. 14.

  To support the foregoing assertions, Klayman submits a Declaration [ECF Document No. 8-1] (the
  “Declaration”) in which he simply repeats the conclusory allegations from the Complaint under oath,
  but adds no further evidence or information to support or explain his conclusions:
                         “I am a citizen of Florida and have, at all material times, done business in this
                         judicial district.” Declaration at ¶ 2.

                        Defendant Fitton and Stone are working together as co-conspirators to try to
                         harm me in this district, in Florida and the United States. Declaration at ¶ 13.

                        “The January 18, 2019 InfoWars video contained several false, misleading and
                         defamatory statements concerning me. Stone published at the direction of
                         Defendant Fitton, “[h]e [me] was ousted at Judicial Watch. Ask Tom Fitton
                         why he left. He left because of a sexual harassment complaint.” Declaration at
                         ¶ 14.

                        “Defendant Fitton and Stone communicated and published the false and
                         defamatory statements by phone, email, text or in person in Florida and in this
                         district. Discovery will reveal which vehicle(s) Defendant Fitton and Stone
                         used to conspire together to hurt me in Florida.” Declaration at ¶ 15.

                        “Stone made this false, defamatory statement at the direction of Defendant
                         Fitton, whom he attributes this false and defamatory statement.” Declaration at
                         ¶ 16.

                        “Defendant Fitton published this false statement to Stone, located in Florida at
                         the time, and the false statement was aimed at me, a Florida citizen.”
                         Declaration at ¶ 17.

         On March 26, 2019, Fitton filed a Reply Memorandum explaining that Klayman did not meet
  his burden of presenting facts sufficient to demonstrate a prima facie case.
         On May 3, 2019, Defendant Fitton’s counsel provided a draft copy of this Motion for Sanctions
  to Klayman in an effort to resolve the frivolous nature of the Complaint, Opposition and Declaration.
  Klayman is fully informed that his pleadings lack any basis for personal jurisdiction.
         III.    Despite efforts to convince Klayman that the pleadings should be withdrawn, he
                 continues to pursue a frivolous jurisdictional foundation that is clearly untenable.
                 Klayman’s actions compel Defendant Fitton to file this Motion for Sanctions.
                 STANDARD OF REVIEW

         Rule 11 requires sanctions to be imposed on a party who files a pleading, motion or other paper
  that lacks a supporting factual basis or for “any improper purpose, such as to harass”. Fed. R. Civ. P.

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  Rule 11 (b). “The reasonableness of the conduct involved is to be viewed at the time counsel or the
  party signed the document alleged to be the basis of the Rule 11 sanction”. Sussman v. Salem, Saxon
  and Nielsen, PA., 150 F.R.D. 209, 213 (M.D. Fla. 1993). Rule 11 is designed to “reduce frivolous
  claims, defenses, or motions, and to deter costly meritless maneuvers”. Massengale v. Ray, 267 F.3d
  1298, 1302 (11th Cir. 2001); see also, Sussman, 150 F.R.D. at 213 (“this Court recognizes Rule 11’s
  objectives, which include: (1) deterring future litigation abuse, (2) punishing present litigation abuse,
  (3) compensating victims of litigation abuse, and (4) streamlining court dockets and facilitating case
  management”).
          Three circumstances warrant Rule 11 sanctions in the Eleventh Circuit: (1) when a party files
  a pleading that has no reasonable factual basis; (2) when a party files a pleading that is based on legal
  theory that has no reasonable chance of success and that cannot be advanced as reasonable argument
  to change existing law; and, (3) when a party files a pleading in bad faith for an improper purpose.
  Jones v. Int’l Riding Helmets, Ltd., 49 F.3d 692, 694 (11th Cir. 1995). Rule 11 sanctions are mandatory
  when a signed pleading is submitted to the court under any one of these conditions. See Schramek v.
  Jones, 161 F.R.D. 119, 122 (M.D. Fla. 1995). Rule 11 obligations are not limited to the filing of a
  complaint but continue throughout the course of litigation….” Cargile v. Viacom Int’l Inc., 282 F.
  Supp. 2d 1316, 1319 (N.D. Fla. 2003). Thus, sanctions are not limited to Rule 11 violations made at
  the time of filing but also applies when the attorney continues “insisting upon a position after it is no
  longer tenable.” Battles v. City of Ft. Myers, 127 F.3d 1298, 1300 (11th Cir. 1997) (quoting Advisory
  Committee’s Note for Fed. R. Civ. P. 11).

          IV.     ARGUMENT

          Sanctions are warranted because the Complaint and Opposition have no reasonable factual
  basis for personal jurisdiction, which is founded solely on Klayman’s speculation and assumption.
  Sanctions are further warranted because the purpose of filing in Florida is solely to harass Fitton. This
  is evident from Klayman’s history of filing civil actions against Fitton in the Middle and Southern
  Districts of Florida, which were then dismissed for lack of any grounds for personal jurisdiction. The
  Complaint and Opposition were filed in bad faith for an improper purpose – to harass Fitton.
                  A.      Neither the Complaint nor the Opposition allege a reasonable basis for
                          personal jurisdiction over Fitton

          When considering whether Rule 11 sanctions are appropriate, courts are instructed to inquire:
  “(1) whether the party's claims are objectively frivolous, and (2) whether the person who signed the
  pleadings should have been aware that they were frivolous.” Byrne v. Nezhat, 261 F.3d 1075, 1105

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  (11th Cir.2001) (citing Baker v. Alderman, 158 F.3d 516, 524 (11th Cir.1998)). The Advisory
  Committee notes for 1993 emphasize “the duty of candor by subjecting litigants to potential sanctions
  for insisting upon a position after it is no longer tenable.” Fed. R. Civ. P. 11 Advisory Committee Note
  of 1993. Peer v. Lewis, 606 F.3d 1306, 1311 (11th Cir. 2010).
          Klayman’s assertion of personal jurisdiction is objectively frivolous. Having filed three prior
  actions against Fitton that were dismissed for lack of personal jurisdiction, Klayman is aware that he
  has the burden to provide evidence or declarations sufficient to establish jurisdiction once Fitton
  controverted the facts in the Complaint. Kelly v. Kelly, 911 F. Supp. 518, 521 (M.D. Fla. 1995).
  Ignoring his burden, Klayman repackaged allegations from the Complaint and stated them in his
  Declaration. This demonstrates that Klayman conducted no pre-filing inquiry or investigation into the
  facts of his claim. There are no facts or evidence to show how Klayman has knowledge regarding any
  of the following allegations:
                         Klayman’s residence in Florida;
                         Alleged communications between Fitton and Stone;
                         Fitton “directed” Stone to make the allegedly defamatory statement;
                         Fitton and Stone are diverting funds from Corsi’s legal defense fund;
                         Fitton published any statement “in this district” to Stone;
                         Fitton engaged in “illegal witness tampering;”
                         Where Fitton was at the time of the alleged statement; and
                         Where Stone was at the time of the alleged statement.
  The foregoing list is not exhaustive, but it demonstrates that Klayman made no effort at all to determine
  whether he had a claim against Fitton, and if so, where the claim could be filed. Instead, Klayman
  knowingly filed the action where the assertion of personal jurisdiction over Fitton would impose the
  greatest burden on him even though the effort is frivolous.
          As a practicing attorney with over 40 years’ experience, Klayman is on notice and aware that
  his burden requires a factual showing of personal jurisdiction. Once personal jurisdiction is at issue,
  Klayman’s response to Fitton’s Motion to Dismiss requires substantially more than merely restating
  allegations in a declaration. His burden is to establish a prima facie case of jurisdiction over Fitton.
  Morris v. SSE, Inc., 843 F.2d 489, 492 (11th Cir. 1988); Delong v. Washington Mills, 840 F.2d 843,
  845 (11th Cir.1988); Bracewell v. Nicholson Air Service, Inc., 748 F.2d 1499, 1504 (11th Cir.1984).
  However, instead of producing any evidence; Klayman admits that he has none: “Discovery will reveal
  which vehicle(s) Defendant Fitton and Stone used to conspire together to hurt me in Florida.”


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  Opposition at p. 10; Declaration at ¶ 15. Stated otherwise, Klayman lacks any knowledge regarding if,
  when, or how Fitton could have spoken to Stone, but believes that the Court should exert personal
  jurisdiction over Fitton and permit discovery to explore his suspicion. No case law in this Circuit
  permits personal jurisdiction based on suspicion. Equally offensive is that Klayman asserts he is a
  resident and citizen of Florida and this judicial district. He is not. As stated in Fitton’s Declaration,
  Klayman has for some time been a resident of California, where he lives with his wife, Dina James.
  He does not reside in Florida and maintains no residence in the State.1
          Klayman’s Opposition and Declaration are devoid of any facts to establish a prima facie case
  of jurisdiction. The circumstances in this case are exacerbated by Klayman’s unquestionable awareness
  that possesses no factual foundation for his jurisdictional assertion or claims against Fitton.
  Unrepentant, he persists in harassing Fitton and clogging this Court’s docket.
          The Complaint, Opposition and Declaration by Klayman are frivolous filings deserving of
  severe sanctions.
                  B.      Klayman’s bad faith is evident from prior lawsuits against Fitton that
                          were dismissed for lack of personal jurisdiction

          Klayman filed this action in bad faith to harass and torment Fitton. The standard for objective
  bad faith was explained by the Middle District of Florida as follows:
                  Objective bad faith arises where an attorney knowingly or recklessly
                  pursues a frivolous claim or needlessly obstructs the litigation of a non-
                  frivolous claim. A party could demonstrate bad faith, for example, by
                  delaying or disrupting the litigation or hampering enforcement of a
                  court order. If particularly egregious, the pursuit of a claim without
                  reasonable inquiry into the underlying facts can be the basis for a
                  finding of bad faith as well. Recklessness is enough to support a finding
                  of objective bad faith, even if the attorney does not act knowingly and
                  malevolently. Reckless conduct simply means conduct that grossly
                  deviates from reasonable conduct.

  In re Engle Cases, 283 F. Supp. 3d 1174, 1214 (M.D. Fla. 2017) (citations and internal quotations
  omitted). Klayman’s pursuit of personal jurisdiction over Fitton in Florida without reasonable inquiry
  into the underlying facts was in bad faith.
          Klayman’s bad faith is evident from three prior lawsuits filed in Florida that were dismissed
  for lack of personal jurisdiction over Fitton. The facts relied on in this action to establish personal


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          As a predicate to moving forward, Klayman should be required to provide specific details
  of his residence under oath. While he may file a case in Florida as a non-resident, he may not
  perpetuate the misrepresentation that he is a citizen and resident of Florida when he is not.
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  jurisdiction are no different than those of the prior actions, yet Klayman seeks a different outcome
  without citing any law in support. In two prior actions filed in this Court, and one in the United States
  District Court for the Middle District of Florida, Klayman relied solely on conclusory allegations,
  without supporting facts, to assert jurisdiction over Fitton for alleged tortious conduct within the state
  or aimed at the state. In all three cases, Klayman proffered no supporting facts, which resulted in
  similar findings of no personal jurisdiction over Fitton under the Florida long arm statute and an
  absence of any notion of minimum contacts. Exhibit A at pp. 2 – 3; Exhibit B at p. 12; Exhibit C at pp.
  13 – 20. In this case, again, Klayman does not present any fact or law to support a different outcome.
  The frivolous nature of his assertion of personal jurisdiction in this case was known at the time of
  filing, and during subsequent pleadings filed to oppose the Motion to Dismiss. Therefore, Rule 11
  sanctions are warranted for bad faith.
          Klayman’s violation of Fed. R. Civ. P. 11 is compounded by his perpetual misrepresentation
  of being a “citizen” of Florida. The purpose of this statement, made under oath, is intended to support
  the argument that as a “resident” of Florida, Klayman is entitled to protection by the Court, which
  should stretch the limits of personal jurisdiction. Contrary to Klayman’s sworn Declaration or the
  factual representations in pleadings, he is neither a “resident” nor a citizen of Florida. He has no
  residential address within Florida but lives full-time in California. Klayman does not own Florida real
  estate, lease a Florida residence, maintain a legitimate business address or operate any going concern
  within Florida. His sole connection to Florida is membership in the Bar and a continuous flow of civil
  actions against Fitton and others to cause harassment and inconvenience.
          V.      CONCLUSION

          The Complaint, Opposition and Declaration are all objectively frivolous assertions of personal
  jurisdiction over Fitton that have cause substantial cost and harassment. Because Klayman has engaged
  in a pattern of pursuing the same frivolous position, his filings are made with objective bad faith. The
  Court must impose harsh Rule 11 sanctions to compensate Fitton, deter Klayman and protect the
  integrity of this Court.
          WHEREFORE, for all of the foregoing reasons, Defendant Thomas J. Fitton respectfully
  requests that the Court GRANT this Motion and award the following relief against Klayman: (a) award
  Fitton his reasonable attorney’s fees, costs and expenses incurred in responding to this action; (b)
  enjoin Klayman from filing any civil action or otherwise seeking relief against Fitton in Florida without
  an order from an appropriate federal judicial officer certifying that the claims and personal jurisdiction
  are not frivolous; and (c) for such other relief that this court deems just and proper.


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                                     Respectfully Submitted,

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                                      RULE 11(C)(2) CERTIFICATE

           Pursuant to Rule 11(c)(2), I hereby certify that on May 4, Plaintiff Larry Klayman was served
   by email and first-class mail, postage paid, with a copy of the foregoing Motion for Sanctions Pursuant
   to Fed. R. Civ. P. 11, together with a letter stating as follows:
                   Pursuant to Fed. R. Civ. P. 11(c)(2), attached is a service copy of
                   Defendant Thomas Fitton’s Motion for Sanctions Pursuant to Fed. R.
                   Civ. P. 11, which we are providing to you. We demand that you
                   dismiss with prejudice your claims against Thomas Fitton within 21
                   days of the date of this letter. If you refuse to dismiss your claims
                   against Thomas Fitton, we will proceed with filing the Motion for
                   Sanctions with the Court.

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